THE COURT.
[1] This is a motion to affirm the judgment of the trial court on the ground that the appellant has failed to set forth in its opening brief, or in a supplement thereto, in accordance with the requirements of section 953c of the Code of Civil Procedure, "a sufficient part of the record to justify a reversal of the judgment."
The brief contains a statement of the points on which the appellant relies and cites the pages of the transcript on which it is claimed the evidence sustains the contentions made. Brief excerpts, selected from other parts of the evidence, are set forth. While the brief is on the border line of insufficiency, it appears that the ends of justice will be best served by a decision on the merits rather than on the technical ground urged by the respondent.
The motion is denied.